 Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 1 of 12 Page ID
                                   #:6878



 1

 2                                UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 3

 4

 5

 6   In Re: KIA HYUNDAI VEHICLE THEFT          Case No. 8:22-ML-03052-JVS (KESx)
     MARKETING, SALES PRACTICES, AND
 7   PRODUCTS LIABILITY LITIGATION             DECLARATION OF STEVEN R. PLATT
                                               OF ANGEION GROUP REGARDING
 8
                                               DISSEEMINATION OF
 9                                             SUPPLEMENTAL CAFA NOTICE

10
     This document relates to:
11

12   ALL CONSUMER CLASS ACTION
     CASES
13

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                                                           DECLARATION OF STEVEN R. PLATT
                                                              CASE NO. 8:22-ml-03052-JVS (KES)
 Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 2 of 12 Page ID
                                   #:6879



 1   I, Steven R. Platt, declare and state as follows:

 2          1.      My name is Steven R. Platt. I am over the age of 25 and I have personal knowledge of

 3   the matters set forth herein, and I believe them to be true and correct.

 4          2.      I am a Project Manager at the class action notice and claims administration firm

 5   Angeion Group, LLC (“Angeion”). Angeion specializes in designing, developing, analyzing, and

 6   implementing large-scale, unbiased, legal notification plans. I have worked as a Project Manager in

 7   the class action industry for over 18 years and managed hundreds of class action settlements and Class

 8   Action Fairness Act (“CAFA”) notice mailings.

 9          3.      Angeion is an experienced class action notice and claims administration company
10   formed by a team of executives that have had extensive tenures at five other nationally recognized

11   claims administration companies. Collectively, the management team at Angeion has overseen more

12   than 2,000 class action settlements and distributed over $15 billion to class members.

13          4.      The facts in this Declaration are based on what I personally know, as well as

14   information provided to me in the ordinary course of my business by my colleagues at Angeion.

15                       SUPPLEMENTAL CAFA NOTICE DISSEMINATION

16          5.      On October 6, 2023, Angeion sent Supplemental CAFA Notice on behalf of

17   Defendants Hyundai Motor America (“HMA”), Hyundai Motor Company (“HMC”), Hyundai

18   Technical Center, Inc., also doing business as Hyundai-Kia America Technical Center (“HATCI”),
19   Kia America, Inc. (“KA”), and Kia Corporation (“KC”), to 57 federal and state officials (the

20   Attorney General of each of the 50 states, the District of Columbia and the United States Territories).

21   This list of federal and state officials is maintained by Angeion for purposes of disseminating CAFA

22   Notice. Attached hereto as Exhibit A, is a list of the federal and state officials to whom Angeion

23   sent Supplemental CAFA Notice.

24          6.      The Supplemental CAFA Notice was sent via Federal Express to this list of federal

25   and state officials maintained by Angeion for the purpose of effectuating CAFA Notice. Attached

26   hereto as Exhibit B, is a copy of the Supplemental CAFA Notice Cover Letter (“Cover Letter”).

27

28
                                                                        DECLARATION OF STEVEN R. PLATT
                                                                           CASE NO. 8:22-ml-03052-JVS (KES)
 Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 3 of 12 Page ID
                                   #:6880



 1          7.      The       Cover       Letter     provided         a      link      to     a     website

 2   (https://www.administratorclassaction.com/cafa/22-ml-03052) that Angeion created for the purpose

 3   of providing the federal and state officials with a means to download electronic versions of the Court

 4   filings pertinent to the CAFA Notice. These Court filings were also burned onto a CD-ROM and

 5   enclosed with the Cover Letter mailed to each of the 57 federal and state officials to whom Angeion

 6   disseminated Supplemental CAFA Notice. The website and CD-ROM provided to these federal and

 7   state officials, included the following:

 8                  A. Per 28 U.S.C. § 1715(b)(1)-Complaint:

 9                               The Consolidated Amended Consumer Class Action Complaint, filed
10                                with the Court on April 10, 2023.

11                  B. Per 28 U.S.C. § 1715(b)(3)-Notification to Class Members:

12                               The Notice of Proposed Class Action Settlement (Exhibit A to the

13                                Amended Settlement Agreement); and

14                               The Claim Form (Exhibit B to the Amended Settlement Agreement).

15                  C. Per 28 U.S.C. § 1715(b)(4)-Class Action Settlement Agreement:

16                               Amended Settlement Agreement, filed with the Court on September 27,

17                                2023.

18                               Proposed Order Granting Consumer Plaintiffs’ Amended Motion For
19                                Preliminary Approval of Class Action Settlement, filed with the

20                                Consumer Class Plaintiffs’ Amended Notice of Motion and Motion For

21                                Preliminary Approval of Class Action Settlement, on September 27,

22                                2023.

23          8.      I hereby declare under penalty of perjury that the foregoing is true and correct.

24   Executed on October 25, 2023, at Jacksonville, Florida.

25                                                                 Steven Platt
                                                                  ____________________
                                                                  STEVEN R. PLATT
26

27

28
                                                                          DECLARATION OF STEVEN R. PLATT
                                                                             CASE NO. 8:22-ml-03052-JVS (KES)
Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 4 of 12 Page ID
                                  #:6881




                          EXHIBIT A
     Case 8:22-ml-03052-JVS-KES DocumentEXHIBIT
                                             246-1 A
                                                         Filed 10/25/23 Page 5 of 12 Page ID
                                           #:6882
                                   FEDERAL AND STATE OFFICIALS


                   Attorney General                                      Address 1                               Address 2                       City        State   Zip
Office of the Alaska Attorney General                     1031 W 4th Avenue, Suite 200                                                      Anchorage        AK      99501-1994
Office of the Alabama Attorney General                    501 Washington Avenue                    PO Box 300152                            Montgomery       AL      36130-0152
Arkansas Attorney General Office                          323 Center Street, Suite 200                                                      Little Rock      AR      72201-2610
American Samoa Attorney General                           UTULEI, Territory of American Samoa      EXEC. OFC. BLDG - 3rd Floor              Pago Pago        AS           96799
Office of the Arizona Attorney General                    2005 N Central Ave                                                                Phoenix          AZ      85004-2926
Office of the California Attorney General                 455 Golden Gate Ave, Ste 11000           Consumer Law Section                     San Francisco CA              94102
Office of the Colorado Attorney General                   Ralph L. Carr Colorado Judicial Center   1300 Broadway, 10th Floor                Denver           CO           80203
State of Connecticut Attorney General's Office            165 Capitol Ave                                                                   Hartford         CT           06106
District of Columbia Attorney General                     400 6th St, NW                                                                    Washington       DC           20001
Office of the Attorney General of the United States       950 Pennsylvania Avenue, NW              United States Department of Justice      Washington       DC      20530-0001
Delaware Attorney General                                 820 N. French Street 6th FL              Carvel State Office Building             Wilmington       DE           19801
Office of the Attorney General of Florida                 The Capitol, PL-01                                                                Tallahassee      FL      32399-1050
Office of the Georgia Attorney General                    40 Capitol Square, SW                                                             Atlanta          GA      30334-1300
Office of the Attorney General Guam                       590 S.Marine Corps Drive, Suite 901                                               Tamuning         GU           96913
Office of the Hawaii Attorney General                     425 Queen Street                                                                  Honolulu         HI           96813
Iowa Attorney General                                     1305 E. Walnut Street                    Hoover State Office Building             Des Moines       IA           50319
State of Idaho Attorney General's Office                  700 W Jefferson St Suite 210             PO Box 83720                             Boise            ID      83720-0010
Illinois Attorney General                                 100 W. Randolph Street                   James R. Thompson Center                 Chicago          IL           60601
Indiana Attorney General's Office                         302 West Washington Street, 5th Floor    Indiana Government Center South          Indianapolis     IN           46204
Kansas Attorney General                                   120 S.W. 10th Ave., 2nd Floor                                                     Topeka           KS           66612
Office of the Kentucky Attorney General                   700 Capitol Ave                          Capitol Building, Suite 118              Frankfort        KY      40601-3449
Office of the Louisiana Attorney General                  PO Box 94005                                                                      Baton Rouge      LA      70804-4095
Office of the Attorney General of Massachusetts           1 Ashburton Place, 20th Floor                                                     Boston           MA      02108-1698
Office of the Maryland Attorney General                   200 St. Paul Place                                                                Baltimore        MD      21202-2202
Office of the Maine Attorney General                      6 State House Station                                                             Augusta          ME           04333
Office of the Michigan Attorney General                   525 W. Ottawa Street, PO Box 30212       G Mennen Williams Bldg., 7th Fl          Lansing          MI           48909
Minnesota Attorney General's Office                       445 Minnesota St Ste 1400                STATE CAPITOL                            St. Paul         MN      55101-2190
Missouri Attorney General's Office                        207 W. High Street, PO Box 899           Supreme Court Building                   Jefferson City MO             65101
Office of the Northern Mariana Islands Attorney General   Caller Box 10007                         Administration Building                  Saipan           MP      96950-8907
Mississippi Attorney General's Office                     550 High Street, Suite 1200              Walter Sillers Building                  Jackson          MS           39201
Office of the Montana Attorney General                    215 N Sanders                            Justice Bldg.                            Helena           MT      59620-1401
Office of the North Carolina Attorney General             9001 Mail Service Center                                                          Raleigh          NC      27699-9001
State of North Dakota Office of the Attorney General      600 E. Boulevard Avenue, Dept 125        State Capitol                            Bismarck         ND      58505-0040
Office of the Nebraska Attorney General                   PO BOX 98920                             2115 State Capitol                       Lincoln          NE           68509
New Hampshire Attorney General                            33 Capitol Street                        State House Annex                        Concord          NH      03301-6397
Office of the New Jersey Attorney General                 25 Market Street, PO Box 080             Richard J. Hughes Justice Complex        Trenton          NJ           08625
Office of the New Mexico Attorney General                 PO Drawer 1508                                                                    Santa Fe         NM      87504-1508
Nevada Attorney General                                   100 North Carson Street                  Old Supreme Ct. Bldg.                    Carson City      NV           89701
Office of the New York Attorney General                   25 Liberty Street, 15th Floor                                                     Albany           NY      12224-0341
Ohio Attorney General                                     30 E. Broad Street, 14th Floor           State Office Tower                       Columbus         OH           43215
Oklahoma Office of the Attorney General                   313 NE 21st Street                                                                Oklahoma City OK              73105
Office of the Oregon Attorney General                     1162 Court Street NE                     Oregon Department of Justice             Salem            OR      97301-4096
Pennsylvania Office of the Attorney General               1600 Strawberry Square, 16 FL                                                     Harrisburg       PA           17120
Puerto Rico Secretary of Justice                          PO BOX 9020192                                                                    San Juan         PR      00902-0192
State of Rhode Island Office of the Attorney General      150 South Main Street                                                             Providence       RI           02903
South Carolina Attorney General                           PO Box 11549                             Rembert C. Dennis Bldg.                  Columbia         SC      29211-1549
South Dakota Office of the Attorney General               1302 East Highway 14, Suite 1                                                     Pierre           SD      57501-8501
Tennessee Office of the Attorney General and Reporter     PO Box 20207                                                                      Nashville        TN      37202-0207
Attorney General of Texas                                 PO Box 12548                             Capitol Station                          Austin           TX      78711-2548
Utah Office of the Attorney General                       PO Box 142320                            350 North State Street Suite 230         Salt Lake City   UT      84114-2320
Office of the Virginia Attorney General                   202 North Ninth Street                                                            Richmond         VA           23219
Virgin Islands Attorney General                           3438 Kronprindsens Gade                  GERS Building, 2nd Fl                    St. Thomas       VI           00802
Office of the Attorney General of Vermont                 109 State Street                                                                  Montpelier       VT      05609-1001
Washington State Office of the Attorney General           1125 Washington St SE                    P.O. Box 40100                           Olympia          WA      98504-0100
Office of the Wisconsin Attorney General                  PO Box 7857                              Wisconsin Department of Justice, State Capitol,
                                                                                                                                            MadisonRoom 114 East
                                                                                                                                                             WI      53707-7857
West Virginia Attorney General                            1900 Kanawha Blvd., E.                   Capitol Complex, Building 1, Room E-26 Charleston         WV           25305
Office of the Wyoming Attorney General                    2320 Capitol Ave                         Kendrick Building                        Cheyenne         WY           82002
Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 6 of 12 Page ID
                                  #:6883




                          EXHIBIT B
  Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 7 of 12 Page ID
                                    #:6884




                                                                           1650 Arch Street, Suite 2210
                                                                           Philadelphia, PA 19103
                                                                           (p) 215-563-4116
                                                                           (f) 215-563-8839
                                                                           www.angeiongroup.com


                                                                           October 6, 2023

VIA USPS PRIORITY MAIL

  United States Attorney General &
Appropriate Officials


Re: Notice of Class Action Settlement
In re Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability Litigation
Case No. 8:22-ml-03052-JVS-KES (C.D. Cal.)

Dear Counsel or Official:

         Angeion Group, an independent claims administrator, writes on behalf of the Defendants Hyundai Motor
America (“HMA”), Hyundai Motor Company (“HMC”), Hyundai American Technical Center, Inc. also doing business
as Hyundai-Kia America Technical Center (“HATCI”), Kia America, Inc. (“KA”), and Kia Corporation (“KC”) in the
action described below, to provide your office with an update to the CAFA Notice previously sent to your office
on July 28, 2023, pursuant to the provisions of the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715, to
advise you of the following proposed class action settlement:

        Case Name: In re Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability Litigation
        Index Number: 8:22-ml-03052-JVS-KES (C.D. Cal.)
        Jurisdiction: United States District Court for the Central District of California
        Date Amended Notice of Motion and Motion For Preliminary Approval Was Filed: September 27, 2023

    On July 20, 2023, an initial motion for preliminary approval was filed, which was followed by a July 28, 2023,
letter to your office. On September 27, 2023, class counsel filed the Amended Notice of Motion and Motion For
Preliminary Approval of Class Action Settlement. In accordance with the requirements of 28 U.S.C. § 1715, we
hereby provide the following information, and copies of the documents described below associated with this
action on the enclosed CD-ROM and at the following website:
https://www.administratorclassaction.com/cafa/22-ml-03052:

1. 28 U.S.C. § 1715(b)(1)-Complaint: The Consolidated Amended Consumer Class Action Complaint, filed with
   the Court on April, 10, 2023 is included on the enclosed CD-ROM.

2. 28 U.S.C. § 1715(b)(2)-Notice of Any Scheduled Judicial Hearings: The hearing on the class plaintiffs’ motion
   for preliminary approval of the settlement is currently scheduled to occur at 1:30 p.m. (Pacific Time), on
   October 30, 2023. No other judicial hearings relating to the settlement are scheduled.
  Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 8 of 12 Page ID
                                    #:6885



3. 28 U.S.C. § 1715(b)(3)-Notification to Class Members: Copies of the Notice of Proposed Class Settlement and
   Claim Form to be sent to Class Members and filed with the Court as exhibits to the Amended Settlement
   Agreement on September 27, 2023, are included on the enclosed CD-ROM.

4. 28 U.S.C. § 1715(b)(4)-Class Action Settlement Agreement: The Amended Settlement Agreement, filed with
   the Court on September 27, 2023, is included on the enclosed CD-ROM.

5. 28 U.S.C. § 1715(b)(5)-Any Settlement or Other Agreements: There are no other settlements or other
   agreements that have been contemporaneously made between class counsel and counsel for the defendant.

6. 28 U.S.C. § 1715(b)(6)-Final Judgment: As of the date of this letter, no final judgment or notice of dismissal
   has been entered in this case. A copy of the revised Proposed Order Granting Consumer Plaintiffs’ Amended
   Motion for Preliminary Approval of Class Action Settlement, and filed with the Court on September 27, 2023,
   is included on the enclosed CD-ROM.

7. 28 U.S.C. § 1715(b)(7)-Estimate of Class Members: It is not feasible to provide the names of Class Members
   who reside in each state. The Class Member list is made of all owners and lessees of Class Vehicles with
   specified Vehicle Identification Numbers. The Defendants will be employing the assistance of HIS Automotive,
   driven by Polk, or a similar third-party entity to endeavor to compile the most complete and up to date list of
   all potential Class Members. Upon the Defendants’ competition of compiling the Class Member list, the
   Settlement Administrator will provide, if you request, the names of Class Members who reside in your state
   relative to the entire Class.

8. 28 U.S.C. §1715(b)(8): Judicial Opinions Related to the Settlement: The Court has not issued any judicial
   opinion relating to the above-described settlement materials.


        If you have any questions about this notice, the above-referenced action, or the enclosures, please
contact:
             Shon Morgan at the law firm Quinn Emanuel Urquhart & Sullivan, LLP, counsel for HMA, HMC,
                HATCI, KA and KC. Shon Morgan can be reached by phone at (213) 443-3252 or via email at
                shonmorgan@quinnemanuel.com.
             Yvonne Dalton at the law firm Lee, Hong, Degerman, Kang & Waimey, discovery counsel for
                Defendant KA and KC. Yvonne Dalton can be reached by phone at (949) 250-9954 or via email at
                Yvonne.dalton@lhlaw.com.




Sincerely,

Administrator
Angeion Group, LLC


                                                        2
  Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 9 of 12 Page ID
                                    #:6886




                                                                           1650 Arch Street, Suite 2210
                                                                           Philadelphia, PA 19103
                                                                           (p) 215-563-4116
                                                                           (f) 215-563-8839
                                                                           www.angeiongroup.com


                                                                           October 6, 2023

VIA USPS PRIORITY MAIL

  United States Attorney General &
Appropriate Officials


Re: Notice of Class Action Settlement
In re Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability Litigation
Case No. 8:22-ml-03052-JVS-KES (C.D. Cal.)

Dear Counsel or Official:

         Angeion Group, an independent claims administrator, writes on behalf of the Defendants Hyundai Motor
America (“HMA”), Hyundai Motor Company (“HMC”), Hyundai American Technical Center, Inc. also doing business
as Hyundai-Kia America Technical Center (“HATCI”), Kia America, Inc. (“KA”), and Kia Corporation (“KC”) in the
action described below, to provide your office with an update to the CAFA Notice previously sent to your office
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        Index Number: 8:22-ml-03052-JVS-KES (C.D. Cal.)
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    On July 20, 2023, an initial motion for preliminary approval was filed, which was followed by a July 28, 2023,
letter to your office. On September 27, 2023, class counsel filed the Amended Notice of Motion and Motion For
Preliminary Approval of Class Action Settlement. In accordance with the requirements of 28 U.S.C. § 1715, we
hereby provide the following information, and copies of the documents described below associated with this
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https://www.administratorclassaction.com/cafa/22-ml-03052:

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  Case 8:22-ml-03052-JVS-KES Document 246-1 Filed 10/25/23 Page 10 of 12 Page ID
                                    #:6887



3. 28 U.S.C. § 1715(b)(3)-Notification to Class Members: Copies of the Notice of Proposed Class Settlement and
   Claim Form to be sent to Class Members and filed with the Court as exhibits to the Amended Settlement
   Agreement on September 27, 2023, are included on the enclosed CD-ROM.

4. 28 U.S.C. § 1715(b)(4)-Class Action Settlement Agreement: The Amended Settlement Agreement, filed with
   the Court on September 27, 2023, is included on the enclosed CD-ROM.

5. 28 U.S.C. § 1715(b)(5)-Any Settlement or Other Agreements: There are no other settlements or other
   agreements that have been contemporaneously made between class counsel and counsel for the defendant.

6. 28 U.S.C. § 1715(b)(6)-Final Judgment: As of the date of this letter, no final judgment or notice of dismissal
   has been entered in this case. A copy of the revised Proposed Order Granting Consumer Plaintiffs’ Amended
   Motion for Preliminary Approval of Class Action Settlement, and filed with the Court on September 27, 2023,
   is included on the enclosed CD-ROM.

7. 28 U.S.C. § 1715(b)(7)-Estimate of Class Members: It is not feasible to provide the names of Class Members
   who reside in each state. The Class Member list is made of all owners and lessees of Class Vehicles with
   specified Vehicle Identification Numbers. The Defendants will be employing the assistance of HIS Automotive,
   driven by Polk, or a similar third-party entity to endeavor to compile the most complete and up to date list of
   all potential Class Members. Upon the Defendants’ competition of compiling the Class Member list, the
   Settlement Administrator will provide, if you request, the names of Class Members who reside in your state
   relative to the entire Class.

8. 28 U.S.C. §1715(b)(8): Judicial Opinions Related to the Settlement: The Court has not issued any judicial
   opinion relating to the above-described settlement materials.


        If you have any questions about this notice, the above-referenced action, or the enclosures, please
contact:
             Shon Morgan at the law firm Quinn Emanuel Urquhart & Sullivan, LLP, counsel for HMA, HMC,
                HATCI, KA and KC. Shon Morgan can be reached by phone at (213) 443-3252 or via email at
                shonmorgan@quinnemanuel.com.
             Yvonne Dalton at the law firm Lee, Hong, Degerman, Kang & Waimey, discovery counsel for
                Defendant KA and KC. Yvonne Dalton can be reached by phone at (949) 250-9954 or via email at
                Yvonne.dalton@lhlaw.com.
            



Sincerely,

Administrator
Angeion Group, LLC


                                                        2
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                                  #:6888




                                      3
    Case 8:22-ml-03052-JVS-KES Document EXHIBIT
                                            246-1 B
                                                       Filed 10/25/23 Page 12 of 12 Page ID
                                          #:6889
                                  FEDERAL AND STATE OFFICIALS


                    Attorney General                                     Address 1                               Address 2                       City        State   Zip
Office of the Alaska Attorney General                     1031 W 4th Avenue, Suite 200                                                      Anchorage        AK      99501-1994
Office of the Alabama Attorney General                    501 Washington Avenue                    PO Box 300152                            Montgomery       AL      36130-0152
Arkansas Attorney General Office                          323 Center Street, Suite 200                                                      Little Rock      AR      72201-2610
American Samoa Attorney General                           UTULEI, Territory of American Samoa      EXEC. OFC. BLDG - 3rd Floor              Pago Pago        AS           96799
Office of the Arizona Attorney General                    2005 N Central Ave                                                                Phoenix          AZ      85004-2926
Office of the California Attorney General                 455 Golden Gate Ave, Ste 11000           Consumer Law Section                     San Francisco    CA           94102
Office of the Colorado Attorney General                   Ralph L. Carr Colorado Judicial Center   1300 Broadway, 10th Floor                Denver           CO           80203
State of Connecticut Attorney General's Office            165 Capitol Ave                                                                   Hartford         CT           06106
District of Columbia Attorney General                     400 6th St, NW                                                                    Washington       DC           20001
Office of the Attorney General of the United States       950 Pennsylvania Avenue, NW              United States Department of Justice      Washington       DC      20530-0001
Delaware Attorney General                                 820 N. French Street 6th FL              Carvel State Office Building             Wilmington       DE           19801
Office of the Attorney General of Florida                 The Capitol, PL-01                                                                Tallahassee      FL      32399-1050
Office of the Georgia Attorney General                    40 Capitol Square, SW                                                             Atlanta          GA      30334-1300
Office of the Attorney General Guam                       590 S.Marine Corps Drive, Suite 901                                               Tamuning         GU           96913
Office of the Hawaii Attorney General                     425 Queen Street                                                                  Honolulu         HI           96813
Iowa Attorney General                                     1305 E. Walnut Street                    Hoover State Office Building             Des Moines       IA           50319
State of Idaho Attorney General's Office                  700 W Jefferson St Suite 210             PO Box 83720                             Boise            ID      83720-0010
Illinois Attorney General                                 100 W. Randolph Street                   James R. Thompson Center                 Chicago          IL           60601
Indiana Attorney General's Office                         302 West Washington Street, 5th Floor    Indiana Government Center South          Indianapolis     IN           46204
Kansas Attorney General                                   120 S.W. 10th Ave., 2nd Floor                                                     Topeka           KS           66612
Office of the Kentucky Attorney General                   700 Capitol Ave                          Capitol Building, Suite 118              Frankfort        KY      40601-3449
Office of the Louisiana Attorney General                  PO Box 94005                                                                      Baton Rouge      LA      70804-4095
Office of the Attorney General of Massachusetts           1 Ashburton Place, 20th Floor                                                     Boston           MA      02108-1698
Office of the Maryland Attorney General                   200 St. Paul Place                                                                Baltimore        MD      21202-2202
Office of the Maine Attorney General                      6 State House Station                                                             Augusta          ME           04333
Office of the Michigan Attorney General                   525 W. Ottawa Street, PO Box 30212       G Mennen Williams Bldg., 7th Fl          Lansing          MI           48909
Minnesota Attorney General's Office                       445 Minnesota St Ste 1400                STATE CAPITOL                            St. Paul         MN      55101-2190
Missouri Attorney General's Office                        207 W. High Street, PO Box 899           Supreme Court Building                   Jefferson City   MO           65101
Office of the Northern Mariana Islands Attorney General   Caller Box 10007                         Administration Building                  Saipan           MP      96950-8907
Mississippi Attorney General's Office                     550 High Street, Suite 1200              Walter Sillers Building                  Jackson          MS           39201
Office of the Montana Attorney General                    215 N Sanders                            Justice Bldg.                            Helena           MT      59620-1401
Office of the North Carolina Attorney General             9001 Mail Service Center                                                          Raleigh          NC      27699-9001
State of North Dakota Office of the Attorney General      600 E. Boulevard Avenue, Dept 125        State Capitol                            Bismarck         ND      58505-0040
Office of the Nebraska Attorney General                   PO BOX 98920                             2115 State Capitol                       Lincoln          NE           68509
New Hampshire Attorney General                            33 Capitol Street                        State House Annex                        Concord          NH      03301-6397
Office of the New Jersey Attorney General                 25 Market Street, PO Box 080             Richard J. Hughes Justice Complex        Trenton          NJ           08625
Office of the New Mexico Attorney General                 PO Drawer 1508                                                                    Santa Fe         NM      87504-1508
Nevada Attorney General                                   100 North Carson Street                  Old Supreme Ct. Bldg.                    Carson City      NV           89701
Office of the New York Attorney General                   25 Liberty Street, 15th Floor                                                     Albany           NY      12224-0341
Ohio Attorney General                                     30 E. Broad Street, 14th Floor           State Office Tower                       Columbus         OH           43215
Oklahoma Office of the Attorney General                   313 NE 21st Street                                                                Oklahoma City OK              73105
Office of the Oregon Attorney General                     1162 Court Street NE                     Oregon Department of Justice             Salem            OR      97301-4096
Pennsylvania Office of the Attorney General               1600 Strawberry Square, 16 FL                                                     Harrisburg       PA           17120
Puerto Rico Secretary of Justice                          PO BOX 9020192                                                                    San Juan         PR      00902-0192
State of Rhode Island Office of the Attorney General      150 South Main Street                                                             Providence       RI           02903
South Carolina Attorney General                           PO Box 11549                             Rembert C. Dennis Bldg.                  Columbia         SC      29211-1549
South Dakota Office of the Attorney General               1302 East Highway 14, Suite 1                                                     Pierre           SD      57501-8501
Tennessee Office of the Attorney General and Reporter     PO Box 20207                                                                      Nashville        TN      37202-0207
Attorney General of Texas                                 PO Box 12548                             Capitol Station                          Austin           TX      78711-2548
Utah Office of the Attorney General                       PO Box 142320                            350 North State Street Suite 230         Salt Lake City   UT      84114-2320
Office of the Virginia Attorney General                   202 North Ninth Street                                                            Richmond         VA           23219
Virgin Islands Attorney General                           3438 Kronprindsens Gade                  GERS Building, 2nd Fl                    St. Thomas       VI           00802
Office of the Attorney General of Vermont                 109 State Street                                                                  Montpelier       VT      05609-1001
Washington State Office of the Attorney General           1125 Washington St SE                    P.O. Box 40100                           Olympia          WA      98504-0100
Office of the Wisconsin Attorney General                  PO Box 7857                              Wisconsin Department of Justice, State Capitol,
                                                                                                                                            MadisonRoom 114 East
                                                                                                                                                             WI      53707-7857
West Virginia Attorney General                            1900 Kanawha Blvd., E.                   Capitol Complex, Building 1, Room E-26 Charleston         WV           25305
Office of the Wyoming Attorney General                    2320 Capitol Ave                         Kendrick Building                        Cheyenne         WY           82002
